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                      IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF PUERTO RICO


  IN RE:                                               Case No.:21-00066-ESL

  LIZETTE ALEJANDRO PENA,                              Chapter 7

        Debtor.
  ______________________________/

           FORMER CHAPTER 7 TRUSTEE’S RESPONSE TO ORDER REQUIRING THE
            CHAPTER 7 TRUSTEE TO STATE POSITION REGARDING STANDING TO
              PURSUE THE DISGORGEMENT OF FEES OF DEBTOR’S FORMER
                COUNSEL IN LIGHT OF THE CONVERSION TO CHAPTER 13
                                   (DKT. NO.__123)

  TO THE HONORABLE COURT

         COMES NOW, Former Chapter 7 Trustee, Noreen Wiscovitch-Rentas (“Trustee”), and

  respectfully files her position as to “standing” to request the disgorgement of Former Debtor’s

  Counsel’s fees during the pendency of the case in Chapter 7 and after the ordered the conversion

  to Chapter 13, and in support states:


         1. The Court had scheduled an Evidentiary Hearing for September 1, 2021, on the

             Trustee’s Motion for the Disgorgement of Fees of Debtor’s former counsel, Ms.

             Lyssette A. Morales Vidal, of L.A. Morales and Associates, PSC.             Prior to the

             commencement of the Hearing, the Court, sua sponte, raised the issue of whether the

             Former Chapter 7 Trustee had standing to pursue the action against Former Debtor’s

             Counsel to disgorge her fees, due to her failure comply with her ethical and statutory

             responsibilities to conduct a pre-petition investigation as to Debtor’s Financial Affairs

             and post-petition behavior.

         2. The Court referenced six cases upon which the Court based its jurisdictional inquiry.



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        3. The Trustee has reviewed the cases and will discuss their applicability to the facts of

           this case in the light of the Court’s inherent jurisdiction to oversee that the integrity of

           the Bankruptcy Proceedings are maintained, including the actions of the attorneys

           appearing before them.

        4. All the cases cited by the Court, question a Trustee’s standing to pursue certain actions.

           The most recent case cited by the Court is O’Neil v. O’Neil (BAP. 1st Cir. 2021)

           decision of May 21, 2021. In O’Neil a Chapter 13 Trustee appealed a order from the

           Bankruptcy Court on an Objection to Claimed Exemption over a motor vehicle. The

           Bankruptcy Court decision to overrule the objection was made pre-confirmation of the

           Chapter 13 Plan. The Appeal was made pre-confirmation, but at the time that the BAP

           heard the case, a Chapter 13 Plan had been confirmed. The BAP found that the dispute

           has to be very much alive, not only when the case was filed, but must continue to have

           a personal stake in the ultimate disposition of the lawsuit. The BAP described how

           “Mootness is closely related to Standing”. Further, it stated:

                    The First Circuit has stated that a "fundamental polic[y]"
               underlying the case or controversy requirement of Article III is that
               "the courts, for reasons of judicial economy, ought not to decide
               cases in which the controversy is hypothetical, a judgment cannot
               grant effective relief, or the parties do not have truly adverse
               interests." Marchand v. Dir., U.S. Prob. Office, 421 F.2d 331, 332
               (1st Cir. 1970). Accordingly, "when the circumstances out of which
               a controversy arise change so as to raise doubt concerning the
               adversity of the parties' interests, courts ordinar[i]ly dismiss cases
               as moot, regardless of the stage to which the litigation has
               progressed." Id.; see also ACLU of Mass. v. U.S. Conf. of Catholic
               Bishops, 705 F.3d 44, 52-53 (1st Cir. 2013) (stating that "[i]f events
               have transpired to render a court opinion merely advisory, Article
               III considerations require dismissal of the case") (citations omitted).

                      "The difference between an abstract question and a controversy
               . . . is necessarily one of degree, and it would be difficult, if it would
               be possible, to fashion a precise test for determining in every case

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               whether there is such a controversy." United States v. Amoskeag
               Bank Shares, Inc. (In re Amoskeag Bank Shares, Inc.), 239 B.R.
               653, 659 (D.N.H. 1998) (quoting Md. Cas. Co. v. Pac. Coal & Oil
               Co., 312 U.S. 270, 273 (1941)). "The most
               important factors the court must balance are 'the fitness of the issues
               for judicial decision and the hardship to the parties of withholding
               court consideration.'" Id. (quoting Abbott Labs. v. Gardner, 387 U.S.
               136, 149 (1967)). "The critical question in determining whether an
               issue is fit for judicial decision is whether the claim 'involves events
               that may not occur as anticipated, or indeed may not occur at all.'"
               Id. (quoting Lincoln House, Inc. v. Dupre, 903 F.2d 845, 847 (1st
               Cir. 1990)).
               Id. at pages 8 and 9.

        5. The Court determined that since the decision on whether or not the exemption taken by

           the Debtor on the motor vehicle, would not affect the confirmed plan, the Trustee

           lacked appellate standing as the Trustee failed to demonstrate that the allowance of the

           exemption directly and adversely affected his pecuniary interest. The Panel found that

           matter was moot and dismissed the appeal.           It was incumbent on the Trustee to

           demonstrate a continued existence of a live controversy and the Trustee failed to

           establish that he was a person aggrieved with standing to appeal. Consequently, the

           Court lacked jurisdiction.

        6. The difference of the instant case and the case of O’Neil is that the Trustee is not

           pursuing an action to increment the funds of bankruptcy estate, but to bring the attention

           of the Court, the pre and post-petition actions of debtor’s former attorney, which affect

           the integrity of the bankruptcy processes. The disgorgement (or any other sanction the

           Court deems proper) is sought to deter the attorney to continue with actions (or

           inactions) in failing to comply with their obligations to investigate properly and

           independently a debtor’s financial affairs and accurately complete for a debtor the

           schedules and financial affairs. Documents, which are the cornerstone of disclosure



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           in any bankruptcy petition. Any monetary sanction imposed by the court could be to

           disgorge to the Bankruptcy Estate, to the Court, or to the debtor.       The fact that the

           case was converted to Chapter 13, does not divest the Court’s jurisdiction to oversee

           the bankruptcy proceedings in this case from the Petition date to its conclusion and to

           review its own orders.

        7. The Case of Cousins International Food, Corp. v. Vidal, 565 B.R. 450 (B.A.P. 1st Cir.

           2017), the Panel determined whether a party seeking appeal is a “person aggrieved” by

           a bankruptcy court order has standing to appeal. Defining that a “person aggrieved”

           is one whose pecuniary interests are “directly and adversely” affected by an order of

           the bankruptcy court. Further. “[a] litigant qualifies as a ‘person aggrieved’ if the order

           diminishes his property, increases his burdens, or impairs his rights”. Id, 565 B.R. 459

           (citations omitted).     “The pecuniary interests … cannot be merely contingent or

           speculative.” Id. at 460 (citations omitted).

        8. Further, the Court stated that being a party in interest is not necessarily synonymous

           with being a “person aggrieved” for appellate standing purpose. In the Cousins case,

           the Court found that the appellant was not the Debtor and had no standing to bring the

           appeal, but it was the aggrieved party when it attempted to seek remedies under the

           terms of bankruptcy court order to which appellant was a party.

        9. As stated before, the Court has inherent Jurisdiction to consider all allegations of an

           attorney’s misconduct that appears before the Court. The Trustee is not pursuing an

           asset of the Estate, but to bring to the attention of the Court, conduct which affects the

           integrity of the bankruptcy process. The Trustee was directly affected by such conduct

           because the Trustee, the creditors, the court and all interested parties, should be able to



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           rely on the accuracy of the bankruptcy schedules. The administration of a Bankruptcy

           Estate is adversely affected by the inaccuracy of the schedules, which are solely due to

           a debtor’s attorney failure to comply with the Bankruptcy Code and Rules create to

           assure these documents accuracy and reliability and conducting an investigation of a

           debtor’s financial affairs. See Section 326 and Fed. R. Bank. P. 2016.

        10. In the case of In re Mateer, 559 B.R.1 (Bankr. Mass. 2016), the Bankruptcy Court

           dismisses a complaint filed by a Chapter 7 Trustee, because it found that a malpractice

           claim against Debtor’s counsel for failure to record Debtor’s homestead pre-petition

           was not property of the Bankruptcy Estate as the cause arouse after the filing of the

           petition and the Trustee had not standing to assert them. In other words, no harm was

           caused until the Bankruptcy Petition was filed. It should be noted that the dismissal is

           not because the court has no jurisdiction (as in the prior two cases), but that the trustee

           has no standing to pursue a post-petition asset. Further, this case had been converted

           to Chapter 13. Because it was converted and there was no allegation of Bad faith

           conversion, the malpractice claim is owned by the Debtor, under section 348(f)(1)(A).


        11. The case of Mateer, is clearly distinguishable from the facts of this case. There is no

           malpractice claim pursued by the Trustee to augment the bankruptcy estate. The Court

           found that said cause of action belonged to the Debtor. Not to say that in this case the

           Debtor may have a cause of action against Former Counsel, but is not what is sought

           by the Trustee. This is a matter of bringing to the Court’s attention, the inaccuracies

           of schedules, which were sworn under penalty of perjury by the Debtor and Counsel

           and by filing of unnecessary pleadings by Debtor’s former attorney, including the filing

           of Motion to pay fees by installment which was clearly unnecessary.

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        12. In In re Hitchcock, 623 B.R. 312 (Bankr. E.D. Michigan), the Court questioned a

           former Chapter 7 Trustee standing to request the reconversion to Chapter 7, in lieu of

           dismissal, of a Debtor who had converted from Chapter 7 to Chapter 11 via an

           agreement with the United States Trustee Office. The Court found that because the

           former trustee had no allowed and unpaid compensation (administrative or otherwise)

           in Chapter 11, he had no standing.        Further, his services were terminated upon

           conversion and had no standing to oppose the Debtor’s request for dismissal in Chapter

           11.


        13. The Trustee does not disagree with the findings by the Court of Hitchcock. However,

           these are inapposite to the facts of this case.   In seeking the disgorgement of fees

           received by former attorney of the Debtor, the Trustee seeks to bring to the attention of

           the Court conduct which directly affect the integrity of the Bankruptcy system. The

           person with personal knowledge is the Former Trustee. The party with the information

           and evaluation of the misinformation provided in this case is the Chapter 7 Trustee as

           the recipient of the documents provided by debtor and by former attorney and it is the

           Trustee who had the obligation to conduct the 341 Meeting of Creditors. This is still

           one bankruptcy, and the actions (or inactions) by Former counsel affected this case. To

           disregard the matter, would allow conduct unbecoming of a debtor’s attorney to go

           without consequences. Further, if the Trustee is required to bring the action in Chapter

           13 (this action commenced in Chapter 7 long before conversion), the Trustee could

           request the allowance of an administrative claim for costs, which would provide for

           standing during the pendency of the Chapter 13 proceedings. The prosecution of the



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           action against the Former counsel is not being billed to the Estate, as the Trustee was

           not hired as counsel for the Estate.       Most importantly, the Trustee understands that

           bringing to the attention of the Court with jurisdiction to oversee the conduct of

           attorneys before it, is more in the nature of a duty as officer of the court and as court

           appointed fiduciary.    The action of the Trustee is not to seek compensation, but to

           show the Court a wrong and it is up to the Court to determine if such wrong occurred

           sufficient to merit the imposition of sanctions.         Its more similar to an obligation

           towards the court as an officer of the court and in preserving the integrity of these

           bankruptcy proceedings.

        14. In the case of In re Torres Martinez, 397 B.R. 158 (B.A.P. 1st Cir 2008) the Panel

           analyses the standing of the party that requested the dismissal of a Chapter 13 case for

           bad faith.   The Court understood that standing is a jurisdictional issue that can be

           determine at anytime in the proceedings. In the case, the party moving for dismissal

           was found to have a pecuniary interest. Therefore, it had standing to request the

           dismissal of the Chapter 13 case for bad faith filing.

        15. The Trustee is seeking to maintain the integrity of the bankruptcy process. The Court

           has inherent jurisdiction to oversee, that the attorneys appearing before it conduct the

           proceedings before the court with the highest ethical standards. The whole bankruptcy

           system depends on this oversight. Regardless, of who brings the matter to the attention

           of the court. Again, the status of the Bankruptcy case will not change by the Trustee’s

           Motion. A pecuniary interest is not necessary to advise the Court of conduct which

           affect the Bankruptcy processes.




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        16. The Bankruptcy Appellate Panel, in In re Newcare Health Corp, 244 B.R. 177 (BAP

           1st Cir. 2000) determined that a party in interest, must also show that it has standing,

           which in the case was holding a pecuniary interest by filing a proof of claim.      The

           Court stated:



                      Standing is a "threshold question in every federal case, determining the
                      power of the courtto entertain the suit." Warth v. Seldin, 422 U.S. 490, 95
                      S.Ct. 2197, 45 L.Ed.2d 343 (1975). Hence, "a defect in standing cannot be
                      waived; it must be raised, either by the parties or by the court, whenever it
                      becomes apparent." U.S. v. AVX Corp., 962 F.2d 108, 116 n. 7 (1st
                      Cir.1992).



                      The inquiry into standing "involves both constitutional limitations on
                      federal-court jurisdiction and prudential limitations on its exercise." Warth,
                      422 U.S. at 498, 95 S.Ct. 2197. "In its constitutional dimension, standing
                      imports justiciability: whether the plaintiff has made out a case or
                      controversy' between himself and the defendant within the meaning of Art.
                      III." Id. Apart from this minimum constitutional mandate, the Supreme
                      Court recognizes other limits ". . . on the class of persons who may invoke
                      the courts' decisional remedial powers." Id. at 499, 95 S.Ct. 2197. These
                      prudential limitations are self-imposed rules of judicial restraint:
                      These considerations, which militate against standing, principally concern
                      whether the litigant (1) asserts the rights and interests of a third party and
                      not his or her own, (2) presents a claim arguably falling outside the zone of
                      interests protected by the specific law invoked, or (3) advances abstract
                      questions of wide public significance essentially amounting to generalized
                      grievances more appropriately addressed to the representative branches.
                      Benjamin v. Aroostook Medical Center, Inc., 57 F.3d at 104 (emphasis
                      added).

                      "The burden of alleging facts necessary to establish standing falls upon the
                      party seeking to invoke the jurisdiction of the court. . . . In conducting our
                      review, we are obliged to `accept as true all material allegations of the
                      complaint, and . . . construe the complaint in favor of the complaining
                      party.'" Id. (quoting Warth, 422 U.S. at 501, 95 S.Ct. 2197) (other citations
                      omitted). Id.




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        17. The Court has jurisdiction to oversee the conduct of the attorneys appearing before it.

           All the cases cited by the Court determine standing on a pecuniary interest of the party.

           Further, they relate to actions against a Debtor, or a Creditor or a Trustee, when

           requesting a remedy to obtain a pecuniary interest.      None of the cases relate to the

           actions of an attorney in bankruptcy and the preservation of Bankruptcy integrity. For

           the Motion to Disgorge (requested to deter an attorney’s inappropriate conduct), a

           pecuniary interest of the Bankruptcy Estate, does not seem necessary. The Trustee’s

           Motions made the Court aware of the circumstances surrounding the claim and the

           Court may consider the matter under Section 105 of the Bankruptcy Code. Overseeing

           the orderly administration of the case before the court and considering the conduct of

           the attorneys which appear before it, confers the Court with inherent jurisdiction to

           correct the actions of an attorney by enforcing appropriate action, including the

           disgorgement of fees.

        18. In In re Bartmann, 320 B.R. 725 (Bankr. N.D. Okla. 2004) the Court stated:

           11 U.S.C. § 329. Bankruptcy Rule 2017 implements Section 329 as follows—


                   On motion by any party in interest ..., the court after notice and a hearing may
                   determine whether any payment of money or any transfer of property by the
                   debtor, made directly or indirectly, and in contemplation of the filing of a
                   petition under the Code by or against the debtor ... to an attorney for services
                   rendered or to be rendered is excessive.


                   Fed. R. Bankr.P.2017. "The obvious purpose of Section 329 and Rule 2016(b)
                   is to enable the creditors to review the debtor's transactions with his attorneys
                   and to seek, if necessary, the return of excessive payments made by a desperate
                   debtor to an attorney on the eve of bankruptcy." In re Meyer, 50 B.R. 3, 4
                   (Bankr.S.D.Fla. 1985).




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                   Courts have long recognized that the debtor is in a vulnerable position and is
                   highly dependent on its attorney and therefore will be reluctant to object to the
                   fees of the attorney. The purpose of this process is to prevent overreaching by
                   an attorney and provide protection for creditors. 3 Collier on Bankruptcy ¶
                   329.01 (Lawrence P. King ed., 15th ed. rev.1997); see also In re Busy Beaver
                   Bldg. Ctrs., Inc., 19 F.3d 833, 844 (3rd Cir. 1994)("Disagreeable as the chore
                   may be, the bankruptcy court must protect the estate, lest overreaching attorneys
                   or other professionals drain it of wealth which by right should inure to the
                   benefit of unsecured creditors."); Burd v. Walters (In re Walters), 868 F.2d 665,
                   668 (4th Cir.1989) (noting that legislative history states that the purpose of §
                   329 is to protect creditors and debtor from overreaching by attorneys); Land v.
                   First Nat'l Bank (In re Land), 116 B.R. 798, 804 (D.Colo.1990) (citing
                   legislative history and noting that serious potential for overreaching by debtor's
                   attorney should be subject to careful scrutiny), affd & remanded, 943 F.2d 1265
                   (10th Cir.1991). Jensen v. United States Trustee (In re Smitty's Truck Stop,
                   Inc.), 210 B.R. 844, 848 (10th Cir. BAP 1997). "Compensation to a debtor's
                   counsel may be considered excessive for a number of reasons including the size
                   of the fee, the nature of the services provided, failure to disclose the information
                   required by Rule 2016(b), unethical conduct or other causes." In re Martin, 197
                   B.R. 120, 125 (Bankr.D.Colo. 1996), citing Quiat v. Berger (In re Vann), 136
                   B.R. 863 (D.Colo.1992); In re Land, 943 F.2d 1265 (10th Cir.1991).


        19. The Trustee is a party in interest, which during the pendency of the Chapter 7 should

           be allowed to bring to the attention of the Court under Section 329, Ruled 2016 and

           Rule 2017 conduct of a debtor’s counsel, which fall short and fails to comply with the

           standards required by the Code and the Rules. Not allowing a court appointed officer

           to bring to the attention of the Court the actions, inactions and consequences of these

           in a Bankruptcy Case by an attorney, would be an injustice and contrary to the

           preservation of the integrity of the bankruptcy process. How would the Court know

           of the wrong conduct or action otherwise? Certainly, a Chapter 7 Trustee would be the

           best source to inform the Court of the events occurring during the proceedings held

           pursuant to the provisions of the Bankruptcy Code, like the 341 Meeting of Creditors.


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        20. As stated before, Section 105(a) provides that the bankruptcy court:



               may issue any order ... that is necessary or appropriate to carry out
               the provisions of this title. No provision of this title providing for
               the raising of an issue by a party in interest shall be construed to
               preclude the court from, sua sponte, taking any action or making any
               determination necessary or appropriate to enforce or implement
               court orders or rules, or to prevent an abuse of process.
               11 U.S.C. § 105(a). While the authority granted under § 105(a) is
               equitable and broad, Marrama v. Citizens Bank of Massachusetts ,
               549 U.S. 365, 127 S. Ct. 1105 1112, 166 L.Ed.2d 956 (2007), it does
               not authorize the creation of substantive rights that are otherwise
               unavailable under applicable law, or constitute "a roving
               commission to do equity." In re Dairy Mart Convenience Stores, Inc.
               , 351 F.3d 86, 92 (2d Cir. 2003) (internal citations omitted).
               However, it is beyond dispute that the authority of this Court under
               § 105(a) includes the power to enforce its own orders. E.g. Matter
               of Motors Liquidation Co ., 829 F.3d 135, 153 (2d Cir. 2016)
               ("[T]he [Bankruptcy] Code charges the bankruptcy court with
               carrying out its orders .... Hence, a bankruptcy court "plainly ha[s]
               jurisdiction to interpret and enforce its own prior orders." (citing §
               105(a) and In Matter of Motors Liquidation Co. , 829 F.3d 135, 153
               (2d Cir. 2016) ).7

               Disgorgement is an equitable remedy used to wrest ill-gotten gains
               from a wrongdoer. See, e.g., SEC v. Huffman, 996 F.2d 800, 802
               (5th Cir.1993). This Court also may order disgorgement of fees to
               address a breach of fiduciary duty. See In re Food Mgmt. Grp., LLC
               , 380 B.R. 677, 713 (Bankr. S.D.N.Y. 2008) ("Bankruptcy law also
               gives a court wide discretion in fixing a remedy for breach of
               fiduciary duties by a bankruptcy professional. The available
               remedies range from sanctions or the refusal, reduction or
               disgorgement of attorney's fees.") (internal citations omitted).
               In re JNL Funding Corp., 620 B.R. 25 at 28, (Bankr. E.D. N.Y.
               2020). (Action brought for disgorgement of fees by a Chapter 7
               Trustee on a Converted Chapter 11. The Court found that
               disgorgement was not to remedy the administratively insolvent
               estate, but to enforce the Plan and Confirmation Order from funds
               entrusted to a liquidation trustee.)

        21. There are a multitude of examples in which a Chapter 7 Trustee has brought to the

           attention of the Court events and findings during Chapter 7, which not withstanding the



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           conversion to Chapter 13, the former trustee was able to continue to pursue. The most

           notable is the case of In re Marrama, 549 U.S. 365 (2007). The Supreme Court ruled

           that the “purpose of the Bankruptcy Code is to grant a “fresh start” to the “honest but

           unfortunate debtor””. Id at 367. “An issue that is arisen with disturbing frequency is

           whether a debtor who acts in bad faith prior to, or in the course of, filing a Chapter 13

           petition by, for example, fraudulently concealing significant assets, thereby forfeits his

           right to obtain Chapter 13 relief. The issue may arise at the outset of a Chapter 13 case

           in response to a motion by creditors or by the United States trustee either to dismiss the

           case or convert it to Chapter 7, see §1307(c). It also may arise in a Chapter 7 when a

           debtor files a motion under §706(a) to convert to Chapter 13.” Id at 368. The Supreme

           Court further stated that “In practical effect, a ruling that an individual’s Chapter 13

           case should be dismissed or converted to Chapter 7 because of prepetition bad-faith

           conduct, including acts committed in an earlier Chapter 7 proceeding, is

           tantamount to a ruling that the individual does not qualify as a debtor under Chapter

           13. That individual, in other words, is not a member of the class of “ ‘honest but

           unfortunate debtor[s]’ “ that the bankruptcy laws were enacted to protect.” (Citations

           omitted) (Emphasis added). Id at 374.

        22. The Trustee has already filed an opposition to the conversion of this case to Chapter

           13, due to bad faith. See Dkt. No. 128.

        23. The Bankruptcy Court has authority to suspend an attorney from practicing before it.

           “This authority comes from three sources: inherent authority, statutory authority, and

           local rules. See: In re Disciplinary Proceedings, 282 B.R. 79 (1st Cir. BAP 2002). The

           First Circuit Bankruptcy Appellate Panel in In re Disciplinary Proceedings, stated:



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           As a federal court, a bankruptcy court has the inherent power to sanction, by suspension

           or disbarment, any attorney who appears before it. (Citations omitted).” In re Ebel,

           371 B.R. 866, 868 (Bankr.S.D. Ill. 2007).

        24. The Ebel Court continued to state:

               The United States Supreme Court in
               Chambers v. NASCO, Inc., 501 U.S. 32, 111 S.Ct.
               2123, 115 L.Ed.2d 27 (1991), held that a federal
               court has the inherent power to control admission
               to its bar and to discipline attorneys before it. A
               Bankruptcy Court not only has the authority to
               discipline an attorney for misconduct, but it also
               has the responsibility to take action in order to
               protect the integrity of the Court, its bar, and the
               public from such misconduct. In re Derryberry,
               72 B.R. 874 (Bankr.N.D.Ohio 1987). See also: In
               re Computer Dynamics, Inc., 253 B.R. 693
               (E.D.Va.2000).

               In addition, to this Court's inherent authority
               to discipline attorneys who practice before it, the
               Court also has statutory authority pursuant to 11
               U.S.C. § 105(a). In In re Disciplinary
               Proceedings, supra, at 86, the Court stated that
               Section 105(a) of the Bankruptcy Code:

               ... empowers a bankruptcy court to sanction
               and otherwise, discipline attorneys who appear
               before it, given that incompetent attorneys
               frustrate the Bankruptcy Code's purpose of
               prompt administration of the estate and equitable
               distribution of assets.

               Section 105(a) has been used on many
               occasions to deny attorneys the privilege of
               practicing before a Court. See: In re MPM
               Enterprises, Inc., 231 B.R. 500 (E.D.N.Y.1999); In
               re Gunn, 171 B.R. 517 (Bankr.E.D.Pa.1994); and
               In re Computer Dynamics, Inc., supra, at 698.

               Id at 868.




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        25. In the case of In re Roman, 574 B.R. 430 (Bankr. P.R. 2017), this Court has previously

           analyzed the provision of Section 105, as basis for the imposition of sanctions against

           a debtor’s attorney for failure to meet its duties under 11 U.S.C. §329 and Fed. R.

           Bankr. P. 2016(b). The Court stated:

               Section 105(a) provides:

               (a) The court may issue any order, process, or judgment that is
               necessary or appropriate to carry out the provisions of this title. No
               provision of this title providing for the raising of an issue by a party
               in interest shall be construed to preclude the court from, sua sponte,
               taking any action or making any determination necessary or
               appropriate to enforce or implement court orders or rules, or to
               prevent an abuse of process. 11 U.S.C. § 105.

               The United States Courts of Appeal for the First Circuit has stated "
               Section 105(a) of the Code provides the bankruptcy court broad
               authority to "exercise its equitable powers-where ‘necessary’ or
               ‘appropriate'-to facilitate the implementation of other Bankruptcy
               Code provisions." In re Nosek, 544 F.3d 34, 43 (1st Cir. 2008) ;
               quoting Bessette v. Avco Fin. Servs., Inc., 230 F.3d 439,
               444 (1st Cir.2000). However, "[i]t is hornbook law that §
               105(a)"does not allow the bankruptcy court to override explicit
               mandates of other sections of the Bankruptcy Code." Law v. Siegel,
               –––U.S. ––––, 134 S.Ct. 1188, 1194, 188 L. Ed. 2d
               146 (2014) ; quoting 2 Collier on Bankruptcy¶ 105.01[2], p. 105–6
               (16th ed. 2013).

               Moreover, the First Circuit Court of Appeals has stated that
               "[b]ecause § 105(a) gives courts this power to ensure compliance
               with its own orders, we have referred to it as conferring "statutory
               contempt powers" which "inherently include the ability to sanction
               a party. In re Nosek, 544 F.3d 34 at 43–44, quoting Bessette v. Avco
               Fin. Servs., Inc., 230 F.3d 439 at 445 ; see also In re Morgenstern,
               542 B.R. 650, 660 (Bankr. D.N.H. 2015), aff'd sub nom. White v.
               Gordon, 558 B.R. 15 (D.N.H. 2016) (" Section 105(a) empowers the
               Court to sanction a party where the sanction is "demonstrably
               necessary to preserve a right elsewhere provided in the Code.").
               Courts may thus regulate who may appear before them, may
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             sanction attorneys or their clients for abuse of process and other
             harms." 2 Collier on Bankruptcy¶ 105.02[6][b](16th ed. 2016).

             In the instant case, the request for sanctions is not based on a
             violation of a court order but on alleged violations of provisions of
             the Bankruptcy Code, Federal Rules of Bankruptcy Procedure and
             of the ABA Model Rule of Professional Conduct. The U.S. Trustee's
             requests for sanctions is based, in part, on attorney Conde's failure
             to comply with Section 329 and Fed. R. Bankr. P. 2016(b)'s
             disclosure requirement which the court will proceed to examine.

             Section 329 and Fed. R. Bankr. P. 2016(b)

             Section 329 states that:
             (a) Any attorney representing a debtor in a case under this title, or
             in connection with such a case, whether or not such attorney applies
             for compensation under this title, shall file with the court a statement
             of the compensation paid or agreed to be paid, if such payment or
             agreement was made after one year before the date of the filing of
             the petition, for services rendered or to be rendered in contemplation
             of or in connection with the case by such attorney, and the source of
             such compensation.
             11 U.S.C. § 329.

             In addition, Fed. R. Bankr. P. 2016(b) provides:
             Every attorney for a debtor, whether or not the attorney applies for
             compensation, shall file and transmit to the U.S. Trustee within 14
             days after the order for relief, or at another time as the court may
             direct, the statement required by § 329 of the Code including
             whether the attorney has shared or agreed to share the compensation
             with any other entity. The statement shall include the particulars of
             any such sharing or agreement to share by the attorney, but the
             details of any agreement for the sharing of the compensation with a
             member or regular associate of the attorney's law firm shall not be
             required. A supplemental statement shall be filed and transmitted to
             the U.S. Trustee within 14 days after any payment or agreement not
             previously disclosed.

             Fed. R. Bankr. P. 2016.




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             "The Bankruptcy Code requires fee disclosure so that courts can
             "prevent overreaching by debtors' attorneys and give interested
             parties the ability to evaluate the reasonableness of the fees paid."
             In re Ortiz, 496 B.R. 144, 148 (Bankr. S.D.N.Y. 2013) (citations
             omitted). Thus, "[t]he heart of this framework is disclosure." Alan
             N. Resnick & Henry J. Sommer, 9 Collier on Bankruptcy¶ 2016.01
             (16th ed. 2015).

             Compliance with Section 329 and Fed. R. Bankr. P. 2016(b) is
             mandatory. In re Parrilla, 530 B.R. 1, 10 (Bankr. D.P.R. 2015)
             ("Debtor's attorneys must comply with the mandatory disclosure
             requirements of 11 U.S.C. § 329 and Fed. R. Bankr. P. 2016(b) to
             receive compensation."). "In short, the Rule 2016(b) statement is
             an attorney's certification on which the Debtor, the Court, the
             Trustee, and the creditors rely. It is not a meaningless paper that
             attorneys can ignore or blithely treat as insignificant." In re
             Kowalski, 402 B.R. 843, 848 (Bankr. N.D. Ill. 2009).

             Accordingly, "[c]ourts have been ready to impose severe sanctions
             on professionals who fail to comply with the rules and statutory
             scheme governing compensation." Alan N. Resnick & Henry J.
             Sommer, 9 Collier on Bankruptcy¶ 2016.01 (16th ed. 2015).
             "Failure to comply with Bankruptcy Rule 2016 can provide grounds
             for disqualification of debtor's counsel, disallowance of fees in
             whole or in part and disgorgement of fees." McMullen v. Schultz,
             428 B.R. 4, 13 (D.Mass. 2010).

             In the instant case, the U.S. Trustee argues that attorney Conde
             violated Section 329 and P Fed. R. Bankr. P. 2016(b) by filing two
             statement of compensation that did not accurately disclose the legal
             fees she received. On the 2016(b) Statement filed by attorney Conde
             on July 3, 2015, (Docket No. 1, p 8) she certified that she agreed to
             receive $1,000.00 for her services and had receivedb$0.00 prior to
             the filing of the statement. Contrariwise, the Debtors testified that
             on that same date they made a payment of $700 in attorney Conde's
             office. Moreover, on August 25, 2015, attorney Conde filed an
             Amended 2016(b) Statement certifying that she agreed to accept
             $2,100.00 for her legal services and that she received $1,300.00
             prior to the filing of the statement. (Docket No. 24, p. 1). However,
             as the U.S. Trustee notes, according to the Debtors' testimony by
             August 25, 2015, the Debtors had already paid $2,060.00, of which


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                 $1,600.00 corresponded to attorney Conde's fees9 . Therefore, even
                 without considering the first 2016(b) Statement and attorney
                 Conde's argument that she did not know that the Debtors made a
                 payment on the same date the petition was filed, the court is still
                 forced to conclude that attorney Conde's 2016(b) statements did not
                 contain adequate disclosure as the information contained in the
                 Amended 2016(b) Statement is inconsistent with the Debtors' sworn
                 statement and testimony at the 341 meetings10 . Id. at 440 and 441.
                 (Emphasis Added)



        26. Similarly in this case, as in the case of Roman, Debtor’s former counsel failed to

           correct and properly address the violations and inconsistencies once she was informed

           of payment by the Debtors. Further, the Court stated:

                 The court cautions attorneys against shifting responsibility for their
                 actions to their employees. ABA Model Rule of Professional
                 Conduct 5.3(c)16 provides with respect to a nonlawyer employed or
                 retained by or associated with a lawyer that:

                 a lawyer shall be responsible for
                 conduct of such a person that would
                 be a violation of the Rules of Professional Conduct if engaged in by
                 a lawyer if:

           (1)   the lawyer orders or, with the knowledge of the specific conduct,
                 ratifies the conduct involved; or

           (2)   the lawyer is a partner or has comparable managerial authority in the
                 law firm in which the person is employed, or has direct supervisory
                 authority over the person, and knows of the conduct at a time when
                 its consequences can be avoided or mitigated but fails to take
                 reasonable remedial action. Thus, attorneys can be held responsible
                 for the actions taken by their non-attorney employees. This is so
                 because "[s]uch assistants, whether employees or independent
                 contractors, act for the lawyer in rendition of the lawyer's
                 professional services." MRPC Rule 5.3, comment
                 2. Therefore "[a] lawyer must give such assistants appropriate
                 instruction and supervision concerning the ethical aspects of their
                 employment, particularly regarding the obligation not to disclose
                 information relating to representation of the client, and should be

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               responsible for their work product." Id. In addition, "[t]he measures
               employed in supervising nonlawyers should take account of the fact
               that they do not have legal training and are not subject to
               professional discipline." Id. This is especially relevant in a case like
               this where it appears that attorney Conde delegated various
               responsibilities to her secretary while she was out
               of the office dealing with a family emergency. Id. at 445.


        27. This Court has authority to impose appropriate sanctions as stated in the Roman case:

               As previously noted, "[b]ecause disclosure under section 329(a) and
               Rule 2016(b) is "central to the integrity of the bankruptcy process,"
               failure to disclose is sanctionable. The sanctions can include partial
               or total denial of compensation as well as partial or total
               disgorgement of fees paid." In re Jackson, 401 B.R. 333, 340 (Bankr.
               N.D. Ill. 2009) (internal citations omitted); quoting In re Andreas,
               373 B.R. 864, 872 (Bankr.N.D.Ill.2007).
               See In re Park–Helena Corp., 63 F.3d 877, 882 (9th Cir. 1995)
               ("Even a negligent or inadvertent failure to disclose fully relevant
               information may result in a denial of all requested fees."); In re
               Whitcomb, 479 B.R. 133, 144 (Bankr. M.D. Fla. 2012) ("An
               attorney who fails to comply with the requirements of § 329(a) and
               Rule 2016(b) is subject to "forfeiture of ‘any right to receive
               compensation for services rendered on behalf of the debtor,’ and the
               disgorgement of any funds already paid by the debtor.") (citations
               omitted); In re McMullen, 2009 WL 1490581, at *15 (Bankr.
               D. Mass. May 27, 2009) ("The United States Court of Appeals for
               the First Circuit has made clear that "full and timely disclosure of
               the details" of any fee arrangement is mandatory. Failure to do so
               can provide grounds for disqualification of debtor's counsel,
               disallowance fees in whole or part, disgorgement of fees, and the
               invalidation of a security interest.") (citations omitted). Therefore,
               "[t]he Court enjoys broad discretion in designing appropriate
               remedies to deal with violations of § 329(a) and Rule 2016(b)". In
               re Blackburn, 448 B.R. 28, 40 (Bankr. D. Idaho 2011). See also; In
               re Sandpoint Cattle Co., LLC, 556 B.R. 408, 426 (Bankr. D. Neb.
               2016) ("The decision to reduce fees, deny fees or order
               disgorgement of fees under section 329 is within the sound
               discretion of the bankruptcy court.") (citations omitted); In re
               Saturley, 131 B.R. at 517 ("The court may exercise its discretion to


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                deny or reduce fees for counsel's failure to disclose its fee
                arrangements whether or not actual harm accrues to the estate.").
                "The disclosure rules are to be applied literally, even if the results
                are at times harsh.” In re Blackburn, 448 B.R. at 41. Id. at 445.


         28. As a court appointed fiduciary, the Former Trustee is bringing to the attention of the

            Court actions (or inactions) taken by Debtor’s former Counsel, which were fully

            described in the Trustee’s Motion for Disgorgement of Fees and the Trustee’s Reply to

            Debtor’s Opposition. See Dkt. Nos. 28 and 54.         At the time, the case was still in

            Chapter 7 and the Attorney for the Debtor had not been released as Debtor’s Counsel.

            The Court retained jurisdiction over the matter after authorizing the withdrawal of

            Debtor’s Counsel (Dkt. No. 55). The Court has inherent jurisdiction to oversee the

            actions of the attorneys appearing before it. The former chapter 7 trustee is bringing to

            the attention of the court circumstances which merit its consideration, and oversite into

            the conduct of debtor’s former counsel in connection with this Bankruptcy Case.

         29. The Motions to Disgorge are not a matter of having a monetary stake in the outcome

            of the bankruptcy. But it is a matter of the integrity of our Bankruptcy System.   Even

            if the Court, finds that the Former Trustee has no standing, the Court, sua sponte, can

            take the matter into consideration under Section 105 of the Bankruptcy Code.

            Respectfully Submitted, this 21st day of September, 2021.

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been sent

  to Debtor’s counsel, Jesus E. Batista Sanchez at hjeb@batistasanchez.com to Debtor, Lizette

  Alejandro Pena, at her mailing address of Paseos de la Ceiba, 182 Calle Arce D2, Juncos, PR

  00777, and to attorney Luisa Valle Castro, Esq. at condecarmen@condelaw.com and Lyssette A.




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  Morales Vidal, Esq. at lamoraleslawoffice@gmail.com on this 21th day of September, 2021.

                                       /s/ Noreen Wiscovitch-Rentas
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